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    In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                         No. 20-1540V
                                        UNPUBLISHED


    MARGARITA GONZALEZ-FIGUEROA,                            Chief Special Master Corcoran

                        Petitioner,                         Filed: June 6, 2022
    v.
                                                            Special Processing Unit (SPU);
    SECRETARY OF HEALTH AND                                 Ruling on Entitlement; Concession;
    HUMAN SERVICES,                                         Table Injury; Influenza (Flu) Vaccine;
                                                            Shoulder Injury Related to Vaccine
                       Respondent.                          Administration (SIRVA)


Hiram Manuel Angueira, Angueira & Associados, LLC, San Juan, Puerto Rico, for
Petitioner.

Joseph Adam Lewis, U.S. Department of Justice, Washington, DC, for Respondent.

                                   RULING ON ENTITLEMENT 1

        On November 6, 2020, Margarita Gonzalez-Figueroa filed a petition for
compensation under the National Vaccine Injury Compensation Program, 42 U.S.C.
§300aa-10, et seq. 2 (the “Vaccine Act”). Petitioner alleges that she suffered a shoulder
injury related to vaccine administration (“SIRVA”) as a result of an influenza (“flu”) vaccine
administered on November 9, 2017. Petition at 1. Petitioner further alleges that the
vaccine was administered within the United States, that she satisfied the statutory severity
requirement by suffering the residual effects of her injury for more than six months, and
that there has been no award or settlement for Petitioner’s injury. Petition at 4. The case
was assigned to the Special Processing Unit of the Office of Special Masters.


1
  Because this unpublished Ruling contains a reasoned explanation for the action in this case, I am required
to post it on the United States Court of Federal Claims' website in accordance with the E-Government Act
of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic Government
Services). This means the Ruling will be available to anyone with access to the internet. In accordance
with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact medical or other information,
the disclosure of which would constitute an unwarranted invasion of privacy. If, upon review, I agree that
the identified material fits within this definition, I will redact such material from public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all section references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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        On June 1, 2022, Respondent filed his Rule 4(c) report in which he concedes that
Petitioner is entitled to compensation in this case. Respondent’s Rule 4(c) Report at 1.
Specifically, Respondent has concluded that Petitioner has satisfied the criteria set forth
in the Vaccine Injury Table and the Qualifications and Aids to Interpretation for a SIRVA.
Id. at 4. Respondent further agrees that Petitioner satisfied the statutory requirements for
compensation. Id. at 4-5.

       In view of Respondent’s position and the evidence of record, I find that
Petitioner is entitled to compensation.

      IT IS SO ORDERED.

                                                        s/Brian H. Corcoran
                                                        Brian H. Corcoran
                                                        Chief Special Master




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